Case 2:19-cr-00877-CCC Document 273-1 Filed 11/02/22 Page 1 of 2 PageID: 4040




UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,
                                                          :
                  -against-                                 Crim. No. 2:19-cr-877-CCC
                                                          :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                              :
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
--------------------------------------------------------- X
         [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

       Defendant Matthew Brent Goettsche’s motion to modify the conditions of his pretrial

release is GRANTED, and the conditions of his pretrial release are modified as follows:


           1. Mr. Goettsche may travel to the Southern District of New York for in-person

              meetings with his attorneys of record in December 2022.

           2. A detailed travel itinerary of flights and lodging shall be provided to Pretrial

              Services for review and approval in advance.

           3. Mr. Goettsche shall remain in the presence of a third-party custodian, during travel

              and while in New York except during in-person meetings with attorneys at either

              Kobre & Kim LLP, 800 Third Avenue, New York, New York or Smith Villazor

              LLP, 250 West 55th Street, New York, New York.

           4. Mr. Goettsche may eat at a restaurant within midtown Manhattan (south of 60th

              Street and north of 42nd Street) accompanied at all times by either his third-party

              custodian or his attorneys of record provided the location and time is disclosed to

              Pretrial Services in advance.
Case 2:19-cr-00877-CCC Document 273-1 Filed 11/02/22 Page 2 of 2 PageID: 4041




            5. Except for in-person meetings with his attorneys of record or such meals, Mr.

                Goettsche shall otherwise remain at the hotel in New York in the presence of a

                third-party custodian during the duration of the trip under all applicable bail

                conditions.

         It is further ordered that the above conditions of release are in addition to, and not in

place of, the conditions previously set forth by this Court.



SO ORDERED.

Dated:

____________________________
Hon. Michael A. Hammer
United States Magistrate Judge




                                                   2
